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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,
                                                            Case No. 05-80810
v.                                                          Hon. Lawrence P. Zatkoff

RAMANDO WELLONS,

       Defendant.
                                         /

       ORDER ADJOURNING SUPERVISED RELEASE VIOLATION HEARING

       On December 12, 2006, Defendant was sentenced to 37 months imprisonment and three

years supervised release. On August 15, 2012, the Court received from the U.S. Probation

Office a Violation Report and Petition for Summons regarding Defendant. Therein, it is alleged

that Defendant violated six conditions of his supervised release, all of which stem from his

alleged possession of marijuana and a firearm and his failure to report such conduct to his

probation officer.

       Currently, a supervised release violation hearing is scheduled for October 25, 2012;

however, the Court has received a request from Defendant (with the agreement of the

Government) to adjourn that hearing because, in the state court case where Defendant is charged

with criminal conduct vis a vis the marijuana and firearm described above, Defendant has filed a

motion to suppress the evidence seized.       The Court finds Defendant’s request reasonable,

provided that certain parameters are established for Defendant, as set forth below.

       Accordingly, and for the reasons set forth above, the Court hereby ORDERS that the

supervised release violation hearing is ADJOURNED from October 25, 2012, to December 11,

2012, at 10:00 a.m. IT IS FURTHER ORDERED that Defendant is now subject to zero-

tolerance while he continues on bond and, in the event that Defendant is alleged to have engaged
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in any additional conduct that would violate any condition of his supervised release, Defendant’s

bond shall be revoked immediately.

       IT IS SO ORDERED.

                                                    S/Lawrence P. Zatkoff
                                                    LAWRENCE P. ZATKOFF
                                                    UNITED STATES DISTRICT JUDGE

Dated: October 23, 2012




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